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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

                                                )
  SVEN SUNDGAARD,                               )
                                                )            Case No. 0:21-cv-00999
                         Plaintiff,             )
                                                )
  v.                                            ) DEFENDANTS’ CERTIFICATE OF
                                                )   SERVICE OF DEFENDANTS’
  MULTIMEDIA HOLDINGS                           ) NOTICE OF FILING OF NOTICE
  CORPORATION, d/b/a KARE-TV and                )    OF REMOVAL OF ACTION
  d/b/a KARE-11; TEGNA, Inc.,                   )      FROM STATE COURT
                                                )
                         Defendants.            )
                                                )

        I, Sean R. Somermeyer, hereby certify that on April 15, 2021, I caused the

following documents (with the Notice of Electronic Filing):

   1.      Defendants’ Notice of Removal of Action from State Court [Dkt. 1];
   2.      Defendants’ Exhibit A – Summons and Complaint [Dkt. 1-1];
   3.      Defendants' Exhibit B – Defendants’ Notice of Filing of Notice of Removal of
           Action from State Court; [Dkt. 1-2];
   4.      Defendants’ Civil Cover Sheet [Dkt. 1-3];
   5.      Defendants’ Declaration of Nikki Mills [Dkt. 2];
   6.      Defendants’ Notice of Appearance of Counsel [Dkt. 3]; and
   7.      Defendants’ Rule 7.1 Corporate Disclosure Statement [Dkt. 4].

 [Check the box, below, that applies to how you served the above documents.]

       to be filed electronically with the Clerk of Court through ECF; and

       that I caused a copy of the foregoing documents to be served by email at the
        following email addresses:

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DATED: April 15, 2021                 Defendants MULTIMEDIA HOLDINGS
                                      CORPORATION, d/b/a KARE-TV and
                                      d/b/a KARE-11 and TEGNA Inc.

                                      By: /s/ Sean R. Somermeyer
                                         One of Its Attorneys

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